                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW MEXICO

IN RE:

GREGORY ALLEN BLEA
ISABEL EILEEN BLEA
fka Isabel Eileen Rivera

                  Debtors.                                     Case No. 7-19-10520-JA

                            LIMITED RESPONSE TO MOTION TO SELL

         COMES NOW Nationstar Mortgage LLC D/B/A Mr. Cooper (“Creditor”), by and

through its attorneys, Rose L. Brand & Associates, P.C. (Andrew Yarrington), and files its

response to the Motion to Approve Trustee’s Sale of Real Property. As grounds therefore, the

Movant, states:

         1.       Philip J. Montoya (Trustee) is the Chapter 7 Trustee assigned in this bankruptcy

case.

         2.       Trustee filed their Motion to Approve Trustee’s Sale of Real Property (the

“Motion”) on August 22, 2019 (Doc 31)

         3.       Pursuant to the Short Sale Approval – Payoff Letter the required minimum payoff

amount is $79,278.27, and closing must be completed by September 23, 2019. See Exhibit A.

         WHEREFORE, Creditor respectfully requests the Court enter an Order:

         A.       Granting the Trustee’s Motion provided the Conditions of the Short Sale approval

can be met;

         B.       Granting any other relief the Court deems just and proper.




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                                                     ROSE L. BRAND & ASSOCIATES, P.C.

                                                     By /s/ Andrew P. Yarrington
                                                        ANDREW YARRINGTON
                                                        Attorney for Creditor
                                                        7430 Washington Street, NE
                                                        Albuquerque, NM 87109
                                                        Telephone: (505) 833-3036
                                                        Andrew.Yarrington@roselbrand.com


I hereby certify that a copy of the foregoing pleading was sent via CM/ECF Filer automatic e-
mail notification to the US Trustee and any party who filed a Request for Notice with the Court
for electronic notification, in addition to the Attorney and Trustee listed below, and mailed by
first class mailing, postage prepaid, to Debtors listed below:

Michael K. Daniels                       Philip J. Montoya              Gregory Allen Blea
Attorney for Debtors                     Chapter 7 Trustee              Isabel Eileen Blea
P.O. Box 1640                            1122 Central Ave SW Ste #3     Debtors
Albuquerque, NM 87103-1640               Albuquerque, NM 87102          8214 Krim Dr. NE
Telephone: (505) 246-9385                Telephone: (505) 244-1152      Albuquerque, NM 87109
mike@mdanielslaw.com


on this 11th day of September, 2019.

/s/ Mitchell Billings_______________
MITCHELL BILLINGS, Paralegal




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